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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



  UNITED STATES OF AMERICA
                                                             NO. 1:23-MJ-14-ZMF-3
      v.

  DODGE DALE HELLONEN



                                 NOTICE OF APPEARANCE

       Pursuant to Local Criminal Rule 44.5, the Federal Public Defender for the Eastern

District of North Carolina hereby notifies this Honorable Court that said attorney is representing

the above-named defendant in this criminal case.

       Furthermore, by filing this Notice of Appearance, the Federal Public Defender for the

Eastern District of North Carolina certifies that copies of said Notice have been served upon:

JOSEPH H. HUYNH
Assistant United States Attorney
405 East 8th Avenue, Suite 2400
Eugene, Oregon 97401-2708

by electronically filing the foregoing with the Clerk of Court on January 27, 2023, using the

CM/ECF system which will send notification of such filing to the above.

       Respectfully submitted this 27th day of January, 2023.

                                             G. ALAN DuBOIS
                                             Federal Public Defender

                                             /s/ Halerie M. Costello
                                             HALERIE M. COSTELLO
                                             Assistant Federal Public Defender
                                             Attorney for Defendant
                                             Office of the Federal Public Defender
                                             150 Fayetteville Street, Suite 450
                                             Raleigh, North Carolina 27601
                                             Telephone: 919-856-4236
                                             Fax: 919-856-4477
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                           N.C. State Bar No. 43030
                           LR 57.1 Counsel Appointed
